188 F.2d 574
    Percy F. HICKS, Appellant, and Cross-Appelleev.DE BARDELEBEN COAL CORPORATION, doing business as Coyle Lines, Appellee and Cross-Appellant.DE BARDELEBEN COAL CORPORATION, Doing Business as Coyle Lines, Appellee and Cross-Appellant,v.Percy F. HICKS, Appellant and Cross-Appellee.
    No. 13417.
    United States Court of Appeals Fifth Circuit.
    May 10, 1951.
    Rehearing Denied July 13, 1951.
    
      Appeal from the United States District Court for the Eastern District of Louisiana; Herbert W. Christenberry, Judge.
      See also 92 F.Supp. 289.
      Victor V. Blackwell, Covington, La., for appellant.
      Richard B. Montgomery, Jr., Arthur B. Hammond, Jr., New Orleans, La., for appellee.
      Before HUTCHESON, Chief judge, and BORAH and RUSSELL, Circuit Judges.
      PER CURIAM.
    
    
      1
      Suing at law, under the Jones Act, 46 U.S.C.A. § 688, plaintiff sought damages for personal injuries and a recovery for maintenance and cure. Tried to a jury, there was a verdict against him on his claim for damages and a verdict in his favor for $1500 for maintenance and cure.
    
    
      2
      Despite the fact that he neither made a motion for a directed verdict nor filed a motion for new trial below, appellant is here asking this court to try the case de novo here on the record made below and award him, notwithstanding the verdict, the damages the jury denied him and a much larger amount for maintenance and cure than they awarded.
    
    
      3
      Appellee has cross appealed, asking that the judgment of the trial court be reversed and a judgment entered in its favor, dismissing appellant's demand for maintenance and cure.
    
    
      4
      In no doubt that plaintiff's appeal presents nothing of substance for our consideration here and that appellee's request for a reversal, on its appeal, of the judgment for maintenance and cure, must be denied, we order the judgment
    
    
      5
      Affirmed.
    
    